
In re Miller, Purnell E.;—Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “C”, No. 374-657; to the Court of Appeal, Fourth Circuit, No. 97KW-2124.
Writ granted in part; otherwise denied; ease remanded to the district court. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to pursue it. If counsel finds no basis for assigning error on appeal, he may withdraw, but only after fulfilling the requirements for review and analysis of the record as set out in State v. Jyles, 96-2669 (La.12/12/97), 704 So.2d 241. In all other respects the application is denied.
TRAYLOR, J., not on panel.
